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                                        1    MORRISON & FOERSTER LLP
                                             MICHAEL A. JACOBS (Bar No. 111664)
                                        2    mjacobs@mofo.com
                                             MARC DAVID PETERS (Bar No. 211725)
                                        3    mdpeters@mofo.com
                                             DANIEL P. MUINO (Bar No. 209624)
                                        4    dmuino@mofo.com
                                             755 Page Mill Road, Palo Alto, CA 94304-1018
                                        5    Telephone: (650) 813-5600 / Facsimile: (650) 494-0792

                                        6    BOIES, SCHILLER & FLEXNER LLP
                                             DAVID BOIES (Admitted Pro Hac Vice)
                                        7    dboies@bsfllp.com
                                             333 Main Street, Armonk, NY 10504
                                        8    Telephone: (914) 749-8200 / Facsimile: (914) 749-8300
L L P




                                             STEVEN C. HOLTZMAN (Bar No. 144177)
                                        9    sholtzman@bsfllp.com
                                             1999 Harrison St., Suite 900, Oakland, CA 94612
F L E X N E R




                                        10   Telephone: (510) 874-1000 / Facsimile: (510) 874-1460
                  C A L I F O R N I A




                                             ALANNA RUTHERFORD
                                        11   575 Lexington Avenue, 7th Floor, New York, NY 10022
                                             Telephone: (212) 446-2300 / Facsimile: (212) 446-2350 (fax)
                                        12
                                             ORACLE CORPORATION
&




                                        13   DORIAN DALEY (Bar No. 129049)
S C H I L L E R




                                             dorian.daley@oracle.com
                                        14   DEBORAH K. MILLER (Bar No. 95527)
                  O A K L A N D ,




                                             deborah.miller@oracle.com
                                        15   MATTHEW M. SARBORARIA (Bar No. 211600)
                                             matthew.sarboraria@oracle.com
                                        16   500 Oracle Parkway, Redwood City, CA 94065
                                             Telephone: (650) 506-5200 / Facsimile: (650) 506-7114
B O I E S ,




                                        17
                                             Attorneys for Plaintiff
                                        18   ORACLE AMERICA, INC.
                                        19                                    UNITED STATES DISTRICT COURT
                                        20                                   NORTHERN DISTRICT OF CALIFORNIA
                                        21                                       SAN FRANCISCO DIVISION

                                        22   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA

                                        23                      Plaintiff,                     DECLARATION OF MATTHEW
                                                                                               SARBORARIA IN SUPPORT OF
                                        24          v.                                         GOOGLE, INC.’S ADMINISTRATIVE
                                                                                               MOTION TO FILE DOCUMENTS UNDER
                                        25   GOOGLE, INC.                                      SEAL (DKT. NO. 580)

                                        26                                                     Dept.: Courtroom 8, 19th Floor
                                                             Defendant.                        Judge: The Honorable William Alsup
                                        27

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                                                         SARBORARIA DECLARATION ISO GOOGLE’S ADMIN. MOTION TO SEAL (DKT. NO. 580)
                                                                               CASE NO. CV 10-03561 WHA
                                                     Case 3:10-cv-03561-WHA Document 599 Filed 11/03/11 Page 2 of 4


                                        1             I, MATTHEW SARBORARIA, declare as follows:

                                        2             1.     I am in-house counsel for Oracle America, Inc. (“Oracle”). My title is Managing Patent

                                        3    Counsel and I represent Oracle in the above-captioned matter.

                                        4             2.     I make this declaration based on my own personal knowledge. If called as a witness, I

                                        5    could and would testify competently as to the matters set forth herein.

                                        6             3.     I have reviewed Google’s Opposition to Motion to Exclude Portions of the Expert Reports
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                                        7    of Gregory K. Leonard and Alan J. Cox (Dkt. No. 581) (the “Opposition Brief”) and the supporting

                                        8    Declaration of David Zimmer in Support of Google’s Opposition to Motion to Exclude Portions of the
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                                        9    Expert Reports of Gregory K. Leonard and Alan J. Cox (“Zimmer Decl.”) (Dkt. No. 581-2), along with

                                        10   the relevant attachments, and Google’s Administrative Motion to File Documents Under Seal (Dkt. No.

                                        11   580).
&




                                        12            4.     Oracle moves to seal portions of the Cockburn deposition. That material is reflected in
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                                        13   Zimmer Decl. Ex. J, and lines 12:14–17 and 12:22–13:2 of the Opposition Brief. Those portions reflect

                                        14   Prof. Cockburn’s analysis and opinions regarding the threat of fragmentation to the Java platform,

                                        15   which he formed based on his review of confidential Oracle documents, testimony, and contracts.
B O I E S ,




                                        16   Oracle currently licenses the Java technology to third parties, and vigorously protects the platform

                                        17   against fragmentation—including by pursuing those who do not abide by Java’s compatibility standards

                                        18   through lawsuits such as this one. Detailed information and analysis, derived from confidential sources,

                                        19   from an expert witness about the threat of fragmentation of Java could, taken out of context, unfairly

                                        20   disparage one of Oracle’s valuable assets and provide an inequitable advantage to Oracle’s negotiating

                                        21   counterparties.

                                        22            5.     Google has also moved to seal portions of the Shugan deposition. That material is reflected

                                        23   in Zimmer Decl. Ex. K and 15:8–10 of the Opposition Brief. I have reviewed the excerpted sections

                                        24   and the quoted material and have determined that no Oracle confidential information would be revealed

                                        25   by making those sections public. Oracle would not oppose an order requiring Google to file these

                                        26   materials in public view.

                                        27   //

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                                                           SARBORARIA DECLARATION ISO GOOGLE’S ADMIN. MOTION TO SEAL (DKT. NO. 580)
                                                                                 CASE NO. CV 10-03561 WHA
                                                  Case 3:10-cv-03561-WHA Document 599 Filed 11/03/11 Page 3 of 4


                                        1          I declare under penalty of perjury that the foregoing is true and correct and that this declaration

                                        2    was executed on November 3, 2011 at Redwood Shores, California.

                                        3
                                                                                          By: /s/ Matthew Sarboraria
                                        4                                                    Matthew Sarboraria
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                                                      SARBORARIA DECLARATION ISO GOOGLE’S ADMIN. MOTION TO SEAL (DKT. NO. 580)
                                                                            CASE NO. CV 10-03561 WHA
                                                  Case 3:10-cv-03561-WHA Document 599 Filed 11/03/11 Page 4 of 4


                                        1                                 GENERAL ORDER 45 ATTESTATION

                                        2
                                                    I, Meredith Dearborn, am the ECF User whose ID and password are being used to file this
                                        3
                                             document. In compliance with General Order 45, X.B., I hereby attest that Matthew Sarboraria has
                                        4
                                             concurred in this filing.
                                        5

                                        6
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                                        7    Dated: November 3, 2011                    BOIES, SCHILLER & FLEXNER LLP
                                        8                                               By: /s/ Meredith Dearborn
F L E X N E R




                                                                                            Meredith Dearborn
                  C A L I F O R N I A




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                                                                                        Attorneys for Plaintiff
                                        10                                              ORACLE AMERICA, INC.
                                        11
&




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                                                       SARBORARIA DECLARATION ISO GOOGLE’S ADMIN. MOTION TO SEAL (DKT. NO. 580)
                                                                             CASE NO. CV 10-03561 WHA
